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                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                    COUNTY DEPARTMENT, CHANCERY DIVISION

    RICHARD ROGERS, individually and on           )
    behalf of similarly situated individuals,     )
                                                  )
            Plaintiff,                            )          No. 19-CV-03083
                                                  )
                            v.                    )
                                                  )          Hon. Matthew F. Kennelly
    BNSF RAILWAY COMPANY, a                       )
    Delaware corporation,                         )          Jury Trial Demanded
                                                  )
            Defendant.                            )

                         FIRST AMENDED CLASS ACTION COMPLAINT

       Plaintiff Richard Rogers (“Plaintiff”), individually and on behalf of other similarly situated

individuals, brings this First Amended Class Action Complaint against Defendant BNSF Railway

(“Defendant”) for its violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/1,

et seq. (“BIPA”), and to obtain redress for all persons injured by Defendant’s conduct. Plaintiff

alleges as follows based on personal knowledge as to his own acts and experiences, and as to all

other matters, upon information and belief, including an investigation conducted by his attorneys.

                                        INTRODUCTION

       1.      BIPA defines a “biometric identifier” as any personal feature that is unique to an

individual, including fingerprints and hand geometry. “Biometric information” is any information

based on a biometric identifier, regardless of how it is converted or stored. Collectively, biometric

identifiers and biometric information are known as “biometrics.” 740 ILCS 14/10.

       2.      Defendant is one of the largest freight railroad networks and railroad operators in

North America.




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        3.       Defendant requires truck drivers, including Plaintiff, who visit specific facilities to

provide their biometric identifiers, in the form of fingerprints and related biometric information,

in order to efficiently process individuals and truck drivers into its facilities.

        4.       The unique nature of biometric identifiers allows private entities, such as

Defendant, to instantly gather an unforgeable and accurate signature of visitors to its facilities.

Defendant employs this system to expedite entry into its facilities, reduce the length of each visit

and increase the amount traffic processed at its facilities each day. This feature makes biometric

identification systems a popular choice to verify an individual’s identity, increase productivity and

improve profit.

        5.       BIPA provides, inter alia, that a private entity, such as Defendant, may not collect,

capture, purchase, or otherwise obtain an individual’s biometric identifiers, such as fingerprints

and hand scans, or any biometric information, including any data regardless of the manner it is

converted or stored, unless it first:

             a. informs that person in writing that biometric identifiers or biometric information

                will be collected or stored;

             b. informs that person in writing of the specific purpose and the length of term for

                which such biometric identifiers or biometric information is being collected, stored

                and used; and

             c. receives a written release from the person for the collection of their biometric

                identifiers or biometric information.

740 ILCS 14/15(b)(1)–(3).

        6.        BIPA also requires private entities in possession of biometric information to

develop a publicly-available written policy outlining the storage and destruction policies of such



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biometric identifiers, and/or any biometric information derived from such identifiers. 750 ILCS

14/15(a).

        7.     Finally, private entities are prohibited from profiting from an individual’s biometric

identifiers or biometric information, as well as disclosing the same to third parties without

informed consent. 740 ILCS 14/15(c)–(d).

        8.     Indeed, “biometrics are unlike other unique identifiers that are used to access

finances or other sensitive information,” (740 ILCS 14/5), and therefore require special treatment

compared to traditional private personal information. For example, even sensitive information like

Social Security numbers, when compromised, can be changed. “Biometrics, however, are

biologically unique to each individual and therefore, once compromised, such individual has no

recourse, is at a heightened risk for identity theft in, and is likely to withdraw from biometric

facilitated transactions.” 740 ILCS 14/5.

        9.     Plaintiff brings this action for statutory damages and other remedies as a result of

Defendant’s collective and respective conduct in violating his biometric privacy rights under

BIPA.

        10.    Compliance with BIPA is straightforward and minimally-burdensome. For

example, the necessary disclosures may be accomplished through a single sheet of paper.

        11.    BIPA’s requirements bestow a right to privacy in biometrics and a right to make an

informed decision when individuals determine whether they will provide or withhold their

biometrics.

        12.    The deprivation of the statutory rights conferred by BIPA constitutes the actual

injuries the Illinois Legislature sought to prevent.




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        13.     On behalf of himself and the proposed Class defined below, Plaintiff seeks an

injunction requiring Defendant to comply with BIPA, as well as an award of statutory damages to

the Class members and monetary damages to be determined at trial, together with costs and

reasonable attorneys’ fees.

                                              PARTIES

        14.     Defendant is a Delaware company that conducts, and is licensed by the Illinois

Secretary of State to conduct, business in Illinois. Defendant is headquartered in Texas and

conducts business throughout Cook County.

        15.     At all relevant times, Plaintiff has been a resident and citizen of the state of Illinois

and visited Defendant’s facilities in Illinois.

                                  JURISDICTION AND VENUE

        16.     This Court has subject matter jurisdiction over this matter pursuant to the Class

Action Fairness Act, 28 U.S.C. §1322(d) et seq., because this case is a class action in which the

amount in controversy exceeds the sum or value of $5,000,000.00 exclusive of interest and costs;

there are greater than 100 putative class members; at least one putative class member is a citizen

of a state other than Defendant’s states of citizenship; and none of the exceptions under subsection

1332(d) apply to this instant action.

        17.     This Court may assert personal jurisdiction over Defendant because it conducts

substantial business throughout Illinois, including in this District.

                               FACTS SPECIFIC TO PLAINTIFF

        18.     During the relevant time period, Plaintiff worked as a truck driver for a third party

logistics company.




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        19.     Plaintiff’s work as a truck driver required him to visit various railyards, including

those owned and operated by Defendant, to pick up and drop off various loads. At certain facilities,

Plaintiff was required to scan his biometric identifier and/or biometric information into

biometrically-enabled identity verification devices and associated technology, such as Defendant’s

RailPASS mobile application and kiosks (the “Biometric System”).

        20.     Using the Biometric System, Defendant collected, captured, stored, and otherwise

obtained biometric identifiers and associated biometric information from Plaintiff and other truck

drivers to track their access to its facilities, record which loads are being tendered by drivers to

Defendant, and record which loads are being removed by truck drivers from Defendant’s facilities.

        21.     The efficiency and accuracy of systems that collect biometric identifiers allows

Defendant to handle incoming and outgoing loads more efficiently than it would be able to using

traditional identification and verification methods. Defendant has not uniformly implemented the

biometric identifier collection systems, opting instead to use traditional methods of load

acceptance and identity verification at other Illinois facilities.

        22.     In certain facilities, Defendant collects biometric identifiers from drivers, such as

Plaintiff, as well as information about their current cargo and vehicle. This information is collected

directly through Defendant’s Biometric System.

        23.     The Biometric System allows Defendant to increase its profit by processing

shipments which enter and exit its facilities more efficiently than traditional methods of load

tracking. Thus Defendant’s use of the Biometric System permits Defendant to receive and deliver

more loads to and from its facilities each day than would otherwise be possible. The Biometric

System also allows Defendant to prevent loss by acquiring an accurate and unforgeable signature

from truck drivers, such as Plaintiff, ensuring the proper party has delivered or removed the proper



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load. Defendant has furthermore been able to reduce the number of employees monitoring its entry

and exit points through its implementation of the Biometric System, thereby reducing its expenses

and increasing its cost competitiveness on the amounts it charges its customers to ship loads as

compared to competing facilities operated by Defendant’s competitors.

       24.     As such, Defendant’s Biometric System increased productivity and efficiency at

the cost of collecting, capturing, and storing the biometric information of Plaintiff and other Class

members in violation of BIPA.

       25.     Although Defendant collected, captured, and stored biometric identifiers and

biometric information, it failed to provide any written disclosures describing the purpose and

duration of such use, failed to make publicly available any retention or destruction policies, and

failed to obtain informed written consent from Plaintiff and other similarly situated individuals, all

in violation of BIPA.

       26.     Defendant further failed to obtain Plaintiff’s and other truck drivers’ informed

consent prior to disseminating their biometric information to any of its technology vendors in

violation of BIPA.

       27.     By failing to comply with BIPA, Defendant has violated Plaintiff’s substantive state

rights to biometric privacy.

                                    CLASS ALLEGATIONS

       28.      Plaintiff brings this action on behalf of himself and a class of similarly situated

individuals pursuant to 735 ILCS § 5/2-801. Plaintiff seeks to represent a Class and Subclass

(unless otherwise noted, “Class”) defined as follows:

       Class: All individuals whose biometric identifiers or biometric information were collected,
       captured, stored, transmitted, disseminated, or otherwise used by or on behalf of Defendant
       BNSF within the state of Illinois any time within the applicable limitations period.



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        29.    Excluded from the Class are any members of the judiciary assigned to preside over

this matter; any officer or director of Defendant; and any immediate family member of such officer

or director.

        30.    There are at least thousands of members of the Class, making the members of the

Class so numerous that joinder of all members is impracticable. Although the exact number of

members of the Class is currently unknown to Plaintiff, the members can be easily identified

through Defendant’s records.

        31.    Plaintiff’s claims are typical of the claims of the Class he seeks to represent,

because the basis of Defendant’s liability to Plaintiff and the Class is substantially the same, and

because Defendant’s conduct has resulted in similar injuries to Plaintiff and to the Class.

        32.    There are many questions of law and fact common to the claims of Plaintiff and the

Class, and those questions predominate over any questions that may affect individual members of

the Class. Common questions for the Class include, but are not limited to, the following:

               a.    Whether the Biometric System collects, captures, or otherwise obtains

                     biometric identifiers or biometric information;

               b.    Whether any biometric information is generated or otherwise derived from

                     the Biometric System;

               c.    Whether Defendant disseminates biometric information;

               d.    Whether Defendant made available to the public a written policy that

                     establishes a retention schedule and guidelines for destroying biometric

                     identifiers or biometric information;

               e.    Whether Defendant obtained a written release from the Class before

                     capturing, collecting, or otherwise obtaining their biometric identifiers or

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                     biometric information;

               f.    Whether Defendant’s conduct violates BIPA;

               g.    Whether Defendant’s BIPA violations are willful or reckless; and

               h.    Whether Plaintiff and the Class are entitled to damages and injunctive relief.

       33.     Absent a class action, most members of the Class would find the cost of litigating

their claims to be prohibitively expensive and would thus have no effective remedy. The class

treatment of common questions of law and fact is superior to multiple individual actions or

piecemeal litigation in that it conserves the resources of the courts and the litigants and promotes

consistency and efficiency of adjudication.

       34.     Plaintiff will fairly and adequately represent and protect the interests of the other

members of the Class he seeks to represent. Plaintiff has retained counsel with substantial

experience in prosecuting complex litigation and class actions. Plaintiff and his counsel are

committed to vigorously prosecuting this action on behalf of the other members of the Class and

have the financial resources to do so. Neither Plaintiff nor his counsel has any interest adverse to

those of the other members of the Class.

       35.     Defendant has acted and failed to act on grounds generally applicable to the

Plaintiff and the other members of the Class, requiring the Court’s imposition of uniform relief to

ensure compatible standards of conduct toward the members of the Class and making injunctive

or corresponding declaratory relief appropriate for the Class as a whole.

                                          COUNT I
        Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq.
            (On behalf of Plaintiff and the Class and against Defendant BNSF)

       36.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       37.     Defendant is a private entity under BIPA.



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          38.   In order to maintain access records, improve efficiency, verify logistical

information, and identify visitors to its facilities, Defendant obtains and relies on data and

information derived from biometric identifiers, i.e. biometric information.

          39.   Defendant collects, captures, stores, transfers, and/or uses Plaintiff’s and Class

Members’ biometric identifiers and/or biometric information through its Biometric System.

          40.   Prior to obtaining Plaintiff’s and the Class members’ biometric information, and in

violation of 740 ILCS 14/15(b), Defendant negligently, recklessly, or intentionally failed to

provide any written disclosures regarding its use of such biometric information, the purpose or

duration of such use, and also failed to obtain written releases from Plaintiff and the Class members

to obtain such biometrics.

          41.   While storing Plaintiff’s and the Class members’ biometric information, and in

violation of 740 ILCS 14/15(a), Defendant negligently, recklessly, or intentionally failed to make

publicly available a retention and destruction schedule for such biometric information.

          42.   BIPA provides for statutory damages of $5,000 for each willful and/or reckless

violation of BIPA and, alternatively, damages of $1,000 for each negligent violation of the BIPA.

          43.   Defendant’s violations of BIPA, as set forth herein, were knowing and willful, or

were at least in reckless disregard of the statutory requirements. Alternatively, Defendant

negligently failed to comply with BIPA in the course of its conduct, or omissions, as set forth

herein.

          44.   Accordingly, with respect to Count I, Plaintiff, on behalf of himself and the

proposed Class, prays for the relief set forth below.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the proposed Class, respectfully

requests that this Court enter an Order:

           a. Certifying the Class as defined above, appointing Plaintiff as class representative

               and the undersigned as class counsel;

           b. Declaring that Defendant’s actions, as set forth herein, violate BIPA;

           c. Awarding injunctive and equitable relief as necessary to protect the interests of

               Plaintiff and the Class by requiring Defendant to comply with BIPA;

           d. Awarding statutory damages of $5,000 for each willful and/or reckless violation of

               the BIPA, pursuant to 740 ILCS 14/20(1);

           e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

               pursuant to 740 ILCS 14/20(3);

           f. Awarding reasonable attorneys’ fees, costs, and other litigation expenses, pursuant

               to 740 ILCS 14/20(3);

           g. Awarding pre- and post-judgment interest, as allowable by law; and

           h. Awarding such further and other relief as the Court deems just and equitable.

                                           JURY DEMAND

       Plaintiff requests trial by jury of all claims that can be so tried.


Dated: July 12, 2019                           Respectfully Submitted,

                                               RICHARD ROGERS, individually and on
                                               behalf of a class of similarly situated individuals


                                       By:     /s/ David L. Gerbie
                                               One of Plaintiff’s Attorneys



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